              Case 5:04-cv-00825-GLS-DEP Document 2 Filed 07/16/04 Page 1 of 12


                                   UNITED STATES DISTRICT COURT
                                             FOR THE
                                  NORTHERN DISTRICT OF NEW YORK


                                                 NOTICE
                THE ATTACHED FILING ORDER IS A TIME SENSITIVE DOCUMENT

This filing order is to be served on all parties to the action along with the complaint or petition for removal
within sixty (60) days of filing this action.

The attached Civil Case Management Plan must be completed and filed with the clerk no later than ten (10)
days prior to the conference date referenced below.

CONFERENCE DATE/TIME: November 4, 2004, at 9:00 a.m.

CONFERENCE LOCATION: Syracuse, New York

BEFORE MAGISTRATE JUDGE: DAVID E. PEEBLES

CONTENTS:

       k       General Order #25 (Filing Order)

       k       Case Management Plan (Attachment B)

       k       Case Assignment/Motion Schedules and Filing Locations
               (Attachment C)

       k       Consent Form to Proceed before U.S. Magistrate Judge
               (Attachment D)

NOTE: IF THIS IS A QUALIFYING CONTRACT, TORT OR NON-PRISONER CIVIL RIGHTS
CASE IT WILL BE DIVERTED INTO THE DISTRICT’S NON-BINDING ALTERNATIVE DISPUTE
RESOLUTION PROGRAM (ADR) FOR Arbitration, Mediation or Early Neutral Evaluation. The
Clerk will indicate the appropriate track based on the Nature of Suit.


                                              X Conventional Track
               Case 5:04-cv-00825-GLS-DEP Document 2 Filed 07/16/04 Page 2 of 12


                                     UNITED STATES DISTRICT COURT
                                               FOR THE
                                    NORTHERN DISTRICT OF NEW YORK

                                              GENERAL ORDER #25

                    I. PURPOSE                                                           III. SERVICE

It is the policy of this court to help litigants resolve             A. Timing:
their civil disputes in a just, timely and cost-effective             When serving a Complaint or Notice of Removal, the
manner. To that end, this court has adopted an                       filing party shall serve on all other parties a copy of
Expense and Delay Reduction Plan in accordance                       this General Order and the attached materials. Service
with the Civil Justice Reform Act of 1990. This will                 of process should be completed within Sixty (60) days
tailor the level of individualized case management                   from the initial filing date. This expedited service is
needs to such criteria as case complexity, and the                   necessary to fulfill the dictates of the Civil Justice
amount of time reasonably needed to prepare the case                 Reform Act Expense and Delay Reduction Plan of
for trial.                                                           this court and to ensure adequate time for pretrial
                                                                     discovery and motion practice. However, in no event
                      II. SCOPE                                      shall service of process be completed after the time
                                                                     specified in Fed. R. Civ. P. 4, or any other Rule or
This order applies to all civil cases filed in this court            Statute which may govern service of process in a
except: multi-district litigation, cases remanded from               given action.
the appellate court, reinstated and reopened cases, and
cases in the following nature of suit categories                     B. Filing Proof(s) of Service:
indicated on the civil cover sheet: Prisoner                         Proof(s) of service of process are to be filed with the
Petitions(510-550), Forfeiture/Penalty (610-690),                    clerk’s office no later than five (5) days after service
Bankruptcy (422-423), Social Security (861-865)                      of the complaint or notice of removal with a copy of
Contracts (only nos. 150: Recovery of Overpayment                    this General Order.
and Enforcement of Judgment 151: Medicare Act,
152: Recovery of Defaulted Student Loans, 153:                       C. Non Compliance with Sixty (60) Day Service
Recovery of Overpayment of Veteran’s Benefits, and                   Requirement:
other contract actions which involve the collection of               In the event that the filing party cannot comply with
debts owed to the United States), Real Property (only                the Sixty (60) day service requirement, that party shall
no. 220: Foreclosure, and other Statutes (only no. 900:              immediately notify the assigned Magistrate Judge and
Appeal of Fee Determination Under Equal Access to                    request an adjournment of the initial Rule 16 case
Justice).                                                            management conference date contained in the attached
                                                                     Civil Case Management Plan.
*Note - When the Court deems it appropriate, Rule 16
Scheduling Conferences will be held in the above                     If an adjournment of the conference date is granted, it
excepted actions.                                                    shall be the responsibility of the filing party to notify
                                                                     all parties to the action of the new date, time and
                                                                     location for the case management conference. Proof of
                                                                     service of such notice shall then be immediately filed
                                                                     with the clerk’s office.




                                                            Page 1
               Case 5:04-cv-00825-GLS-DEP Document 2 Filed 07/16/04 Page 3 of 12


          IV. ADDITIONAL PARTIES                                        VII. MATERIALS INCLUDED WITH THIS
                                                                       GENERAL ORDER PACKET
Any party who, after the filing of the original
complaint or notice of removal, causes a new party to                  A)      Notice of Initial Rule 16 Case Management
be joined in the action shall promptly serve on that                           Conference
new party a copy of General Order 25 along with any                    B)      Civil Case Management Plan
additional Uniform Pretrial Scheduling Order that has                  C)      Case Assignment Form
been entered by the court.                                             D)      Notice and Consent Form to Exercise of
                                                                               Jurisdiction by a United States Magistrate
               V. REMOVED CASES                                                Judge

In cases removed to this court from a state court, the
removing defendant(s) shall serve on the plaintiff(s)                                VIII. ADR PROGRAMS
and all other parties, at the time of service of the
notice of removal, a copy of this General Order with                   It is the mission of this court to do everything it can to
the attached materials. The filing of a motion for                     help parties resolve their disputes as fairly, quickly,
remand does not relieve the moving party of any                        and efficiently as possible. We offer a wide selection
obligation under this General Order unless the                         of non-binding alternative dispute resolution (ADR)
assigned judge or magistrate judge specifically grants                 options - each of which provides different kinds of
such relief.                                                           services so that parties can use the procedure that best
                                                                       fits the particular circumstances of their case.
           VI. TRANSFERRED CASES                                       Selected Contract, Tort and non-prisoner Civil Rights
                                                                       cases will be diverted into Court-Annexed non-
The clerk shall serve a copy of this General Order on                  binding Arbitration, Mediation or Early Neutral
all parties that have appeared in any action transferred               Evaluation. The Northern District of New York
to this district. The clerk shall set a return date for the            alternative dispute resolution programs are governed
initial Rule 16 case management conference on the                      by Local Rules 83.7 (Arbitration), 83.11-1,
form attached to the General Order. It shall be the                    (Mediation), and 83.12-1 (Early Neutral Evaluation).
obligation of the plaintiff or plaintiff’s counsel to                  The parties are encouraged to discuss the ADR
arrange for completion of the attached Case                            alternatives in advance of the Rule 16 Pretrial
Management Plan and to file the Plan with the clerk                    Conference. At the Rule 16 Pretrial Conference, the
and to serve this General Order upon any party who                     assigned Magistrate Judge or District Court Judge will
had not appeared in the action at the time of transfer.                assist the parties in the selection of an appropriate
                                                                       ADR alternative.
Attorneys appearing in transferred cases are reminded
of their obligation to be properly admitted to this                    In addition to Arbitration, Mediation and Early
district in accordance with Local Rule 83.1.                           Neutral Evaluation, the court also offers the following
                                                                       ADR processes:

                                                                                   A) Settlement Conferences:
                                                                       The parties are advised that the court will honor a
                                                                       request for a settlement conference at any stage of the
                                                                       proceeding. A representative of the parties with the
                                                                       authority to bind the parties must be present with
                                                                       counsel or available by telephone at any settlement
                                                                       conference.



                                                              Page 2
               Case 5:04-cv-00825-GLS-DEP Document 2 Filed 07/16/04 Page 4 of 12


   B) Consent to Jury or Court Trial Before A                         XI. CASE MANAGEMENT CONFERENCE
        United States Magistrate Judge:
                                                                    Except in actions exempted under Section II of this
By written stipulation, the parties to any civil action             order, or when otherwise ordered by the court, the
may elect to have a magistrate judge (instead of the                parties shall as soon as practicable, meet to jointly
assigned Article III judge) conduct all proceedings in              address each item contained in the attached Case
any civil case, including presiding over a jury or                  Management Plan packet. The completed plan is to be
bench trial. A trial before a magistrate judge is                   filed with the clerk not later than ten (10) days prior
governed by the same procedural and evidentiary rules               to the conference date. The NOTICE setting the date,
as trial before a district judge. The right to appeal is            time, and location for the initial Rule 16 conference
automatically preserved to the United States Court of               with the court is included as part of this filing order.
Appeals under the same standards which govern
appeals from an Article III judge. Parties often                    The Civil Justice Reform Act Plan of this court
consent to resolution of their civil disputes by                    requires the court to set “early, firm” trial dates, such
magistrate judge bench or jury trial because magistrate             that the trial is scheduled to occur within eighteen (18)
judges have less crowded calendars.                                 months after the filing of the complaint, unless a
                                                                    judicial officer certifies that (I) the demands of the
                 IX. DISCOVERY                                      case and its complexity make such a trial date
                                                                    incompatible with serving the ends of justice; or (II)
A. Discovery Motions: Prior to bringing a discovery                 the trial cannot reasonably be held within such time
dispute to a Magistrate Judge, the parties must confer              because of the complexity of the case or the number
in good faith in accordance with the provisions of                  or complexity of pending criminal cases.
Local Rule 7.1(d). In addition, no non-dispostive or
discovery motions should be presented to the Court                  REVISED GE NERA L ORD ER #25
unless authorized by the Magistrate Judge after
                                                                    Dated:      April 1, 2002
communication with the Magistrate Judges’
chambers.                                                            S/ Frederick J. Scullin, Jr.
                                                                                   Hon. Frederick J. Scullin, Jr.
B. Filing Discovery: Parties are directed not to file                                Chief U.S. District Judge
discovery material unless it is being filed in                                                                     G-25.ord - FRM Date: 04/01/02
accordance with Local Rule 26.2.
                                                                    The 3/30/95 revision clarifies the time frame for filing the case management
                                                                    plan. The revision also includes a provision for issuing G-25 orders on excepted
For additional information on local requirements                    actions when the court deems it appropriate to schedule a Rule 16 conference.
related to depositions and discovery please refer to                The 3/26/97 revision expands the scope of ADR programs offered by the
Section V. of the Local Rules of this court.                        Northern District of New York and removes the reference to General Order #41
                                                                    which was incorporated into Local Rule 7.1(b)1 on January 1, 1997.

                   X. MOTIONS                                       The 11/30/00 revision allows for the inclusion of non-prisoner civil rights cases
                                                                    in the ADR program.

A. Motion Return Dates: Please refer to the attached                The 04/01/02 revision modifies Section IX - Discovery motions.
case assignment form for a complete listing of the
motion return dates for the judges and magistrate
judges of this court.

For additional information on local requirements
related to motion practice, please refer to Local Rule
7.1.



                                                           Page 3
          Case 5:04-cv-00825-GLS-DEP Document 2 Filed 07/16/04 Page 5 of 12


                                 CIVIL CASE MANAGEMENT PLAN

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK



 Asbestos Workers Syracuse
 Pension Fund
                                                                          No. 5:04-CV-825, GLS/DEP
   VS
 Delores A. Wells



IT IS HEREBY ORDERED that, Pursuant to Rule16(b), Federal Rules of Civil Procedure, a status and
scheduling conference will be held in this case before the Honorable DAVID E. PEEBLES, United States
Magistrate Judge on November 4, 2004, at 9:00 a.m. at the United States Courthouse, 10 Floor, at Syracuse,
New York.

Counsel for all parties or individuals appearing pro se in the above-captioned action are directed to confer
in accordance with Fed. R. Civ. P. 26(f) with respect to all of the agenda items listed below. That meeting
must be attended in person or, if counsel for the parties are not located in the same city and do not agree to
meet in person, then by telephone, and must be held at least twenty-one (21) days before the scheduled Rule
16 Conference. Following that Rule 26(f) meeting, a report of the results of that meeting, in the format set
forth below, must be filed with the clerk within fourteen (14) days after the date of the Rule 26(f) meeting
or not later than ten (10) days prior to the scheduled Rule 16 conference with the Court, whichever date is
earlier. Matters which the Court will discuss at the status conference will include the following: (insert a
separate subparagraph as necessary if the parties disagree):

1) JOINDER OF PARTIES: Any application to join any person as a party to this action shall be made on
or before the _______ day of _________________, ___________.

2) AMENDMENT OF PLEADINGS: Any application to amend the pleadings to this action shall be made
on or before the _______ day of _________________, _________.

3) DISCOVERY: All discovery in this action shall be completed on or before the _________ day of
___________________, ___________. (Discovery time table is to be based on the complexity of the
action)

4) MOTIONS: All motions, including discovery motions, shall be made on or before the ________ day of
___________________, ___________. (Non-Dispositive motions including discovery motions may only
be brought after the parties have complied with Section IX of General Order #25)




                                                   Page 1
          Case 5:04-cv-00825-GLS-DEP Document 2 Filed 07/16/04 Page 6 of 12


5) PROPOSED DATE FOR THE COMMENCEMENT OF TRIAL: The action will be ready to proceed
to trial on or before the ______day of________________, _________. It is anticipated that the trial will
take approximately ______ days to complete. The parties request that the trial be held in _______________,
N.Y. (The proposed date for the commencement of trial must be within 18 months of the filing date).

6) HAVE THE PARTIES FILED A JURY DEMAND: _____(YES) / _____(NO).

7) DOES THE COURT HAVE SUBJECT MATTER JURISDICTION? ARE THE PARTIES
SUBJECT TO THE COURT’S JURISDICTION? HAVE ALL PARTIES BEEN SERVED?




8) WHAT ARE THE FACTUAL AND LEGAL BASES FOR PLAINTIFF’S CLAIMS AND
DEFENDANT’S DEFENSES (INCLUDE COUNTERCLAIMS & CROSSCLAIMS, IF
APPLICABLE)?




9) WHAT FACTUAL AND LEGAL ISSUES ARE GENUINELY IN DISPUTE?




10) CAN THE ISSUES IN LITIGATION BE NARROWED BY AGREEMENT OR BY MOTIONS?
ARE THERE DISPOSITIVE OR PARTIALLY DISPOSITIVE ISSUES APPROPRIATE FOR
DECISION ON MOTION?




11) WHAT SPECIFIC RELIEF DO THE PARTIES SEEK? WHAT ARE THE DAMAGES
SOUGHT?




                                                 Page 2
         Case 5:04-cv-00825-GLS-DEP Document 2 Filed 07/16/04 Page 7 of 12


  12) DISCOVERY PLAN:

       A. What changes (if any) should be made to the disclosure requirements under Rule
       26(a), as well as to the limitations on discovery set forth in the Federal Rules of Civil
       Procedure, as amended.




       B. When will the mandatory disclosures required under Rule 26(a)(1) be made, or
       when were they made?




       C. Describe the timetable for discovery, identify the subjects to be addressed, state
       whether discovery should be conducted in phases, and discuss why there are no less
       costly and time consuming alternative methods available to obtain the same
       information:




       D. What forms of discovery does each party intend to pursue?




       E. Are any protective orders required or requested under Fed. R. Civ. P. 26©)?




13) IS IT POSSIBLE TO REDUCE THE LENGTH OF TRIAL BY STIPULATIONS, USE OF
SUMMARIES OR STATEMENTS, OR OTHER EXPEDITED MEANS OF PRESENTING EVIDENCE?
IS IT FEASIBLE AND DESIRABLE TO BIFURCATE ISSUES FOR TRIAL?




14) ARE THERE RELATED CASES PENDING BEFORE THE JUDGES OF THIS COURT?




                                                Page 3
                         Case 5:04-cv-00825-GLS-DEP Document 2 Filed 07/16/04 Page 8 of 12


15) IN CLASS ACTIONS, WHEN AND HOW WILL THE CLASS BE CERTIFIED?




16) WHAT ARE THE PROSPECTS FOR SETTLEMENT? Please circle below the prospect for settlement:

                                    1-----2-----3-----4-----5-----6-----7-----8-----9-----10
                              (VERY UNLIKELY)º º º º º º º º º º º º (LIKELY)

            CANNOT BE EVALUATED PRIOR TO ______________________(DATE)

HOW CAN SETTLEMENT EFFORTS BE ASSISTED?


(Do not indicate any monetary amounts at this time, settlement will be explored by the Magistrate Judge at the
time of the initial status conference)

COMPLETE QUESTION 17 ONLY IF YOUR FILING ORDER COVER SHEET WAS CHECKED AS AN
ADR TRACK CASE. THE PROGRAMS LISTED BELOW ARE COURT-ANNEXED AND NON-BINDING.

17) IF YOUR CASE WAS SELECTED AS A QUALIFYING CONTRACT, TORT, OR NON-PRISONER
CIVIL RIGHTS ACTION, PLEASE SELECT THE PREFERRED ADR METHOD.

                                     ________     ARBITRATION

                                     ________     MEDIATION

                                     ________     EARLY NEUTRAL EVALUATION

 ****************************************************************************************
Pursuant to Fed. R. Civ. P. 26(f) a meeting was held on ______________ at ____________________and was
attended by:                                             (Date)                    (Place)
____________________________for plaintiff(s)

____________________________for defendant(s)_______________________________________________
                                                                                                   (party name)
____________________________for defendant(s)_______________________________________________
                                                                                                   (party name)
At the Rule 16(b) conference, the Court will issue an order directing the future proceedings in this action. The
parties are advised that failure to comply with this order may result in the imposition of sanctions pursuant to
Federal Rules of Civil Procedure 16(f).

Please detach this case management plan form and return the completed form to the clerk for
filing at least ten (10) days in advance of the conference date.
Case M anageme nt Plan
FRM -Date 04/02/02




                                                         Page 4
          Case 5:04-cv-00825-GLS-DEP Document 2 Filed 07/16/04 Page 9 of 12


                                CASE ASSIGNMENT FORM

                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


CIVIL ACTION NUMBER      5:04-CV-825, GLS/DEP

ALL CORRESPONDENCE AND FILINGS SHOULD BEAR THE INITIALS OF THE ASSIGNED JUDGE AND
MAGISTRATE JUDGE IMMEDIATELY FOLLOWING THE CIVIL ACTION NUMBER.
(IE: CIVIL ACTION NO 5:02-CV-0123, FJS-GJD)

DOCUMENTS SHOULD BE FILED IN ACCORDANCE WITH GENERAL ORDER #22.

     ACTION ASSIGNED TO THE JUDGE AND MAGISTRATE JUDGE CHECKED BELOW:

                                                                            INITIALS
            X          JUDGE GARY L. SHARPE                                   (GLS)

            X          MAGISTRATE JUDGE DAVID E. PEEBLES                      (DEP)


                              PRO SE LITIGANTS:
        SEND ALL ORIGINAL PAPERS TO THE CLERK’S OFFICE LISTED BELOW:

                              Clerk, U.S. District Court
                              James T. Foley U.S. Courthouse
                              445 Broadway
                              Albany NY 12207-2936

                All papers filed with the Court must conform to Local Rule 10.1


                                      ~ COUNSEL ~

            ALL DOCUMENTS SHALL BE FILED ELECTRONICALLY
                    ON THE COURT’S CM/ECF SYSTEM

               PLEASE REFER TO GENERAL ORDER #22
      FOR PROCEDURES FOR FILING DOCUMENTS ELECTRONICALLY




                                            Page 1
           Case 5:04-cv-00825-GLS-DEP Document 2 Filed 07/16/04 Page 10 of 12
ALL NON-DISPOSITIVE MOTIONS ARE TO BE MADE RETURNABLE ON A SUBMIT BASIS BEFORE
THE ASSIGNED MAGISTRATE JUDGE. *PLEASE REFER TO LOCAL RULE 7.1(B)1.* ALL MOTIONS
FILED AND MADE RETURNABLE BEFORE MAGISTRATE JUDGES WILL BE TAKEN ON A
SUBMIT BASIS UNLESS: THE PARTIES REQUEST ORAL ARGUMENT AND/OR THE COURT DIRECTS
THE PARTIES TO APPEAR FOR ORAL ARGUMENTS, PROVIDED, HOWEVER, THAT MAGISTRATE
JUDGE DAVID E. PEEBLES REQUIRES ORAL ARGUMENT ON ALL MOTIONS UNLESS THE COURT
DIRECTS OTHERWISE.

SENIOR JUDGE McCURN AND SENIOR JUDGE MUNSON WILL NOT HAVE REGULAR MOTION DAYS
DURING THE MONTH OF AUGUST. MOTIONS MAY NOT BE FILED WITHOUT PRIOR APPROVAL OF
THE COURT DURING THESE PERIODS.


                          For more specific schedules please visit our website at:
                                       www.nynd.uscourts.gov


                              MONTHLY MOTION SCHEDULES


JUDGE GARY L. SHARPE                                   MAGISTRATE JUDGE DAVID E. PEEBLES
10 A.M.- 1ST AND 3RD THURSDAY OF EACH MONTH            9:30 A.M.- 2ND AND 4TH WEDNESDAY OF EACH
AT ALBANY.Motions filed in Syracuse area cases will    MONTH AT SYRACUSE.
be taken on SUBMIT unless otherwise ordered. Motions   2:00 P.M.- 1ST FRIDAY OF EACH MONTH AT
requiring oral argument will be handled by video-      BINGHAMTON - Oral Argument expected on all
conference, or in person, as directed.                 motions unless otherwise directed




                                                  Page 2
               Case 5:04-cv-00825-GLS-DEP Document 2 Filed 07/16/04 Page 11 of 12

                                         CONSENT TO THE EXERCISE
                               OF CIVIL JURISDICTION BY A MAGISTRATE JUDGE


In accordance with the provisions of 28 U.S.C. Section 636©), you are hereby notified that the United States Magistrate
Judges of this district court, in addition to their other duties, may, upon consent of all the parties in a civil case, conduct any
or all proceedings in the case, including a jury or non jury trial, and order the entry of a final judgment.

You should be aware that your decision to consent to the referral of your case to a United States Magistrate Judge for
disposition is entirely voluntary and should be indicated by counsel endorsing the attached consent form for the plaintiff(s)and
defendant(s). If the form is executed by all counsel for the parties (or by the parties if appearing pro se), it should be
communicated solely to the clerk of the district court. ONLY if all the parties to the case consent to the reference to a
magistrate judge will either the judge or magistrate judge to whom the case has been assigned be informed of your decision.

Your opportunity to have your case disposed of by a magistrate judge is subject to the calendar requirements of the court.
Accordingly, the district judge to whom your case is assigned must approve the reference of the case to a magistrate judge
for disposition.

In accordance with 28 U.S.C. Section 636©) (3), an appeal from a judgment entered by a magistrate judge will be taken to
the United States Court of Appeals for this judicial circuit in the same manner as an appeal from any other judgment of a
district court. See Also L.R. 72.2(b)(5).




       Copies of the consent form are available in any office of the clerk of the court and on the court webpage at
                                                www.nynd.uscourts.gov




                **ATTACHED FOR YOUR CONSIDERATION IS A BLANK CONSENT FORM**




                                                             Page 3
                  Case 5:04-cv-00825-GLS-DEP Document 2 Filed 07/16/04 Page 12 of 12
                                              UNITED STATES DISTRICT COURT
                                                 Northern District of New York

 Asbestos Workers Syracuse Pension Fund                      NOTICE, CONSENT, AND ORDER OF REFERENCE
                                                             EXERCISE OF JURISDICTION BY A UNITED
                                                             STATES MAGISTRATE JUDGE


   VS                                                        Case Num ber: 5:04-CV-825, GLS/DEP

 Delores A. W ells




                          NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                                           TO EXERCISE JURISDICTION

In accordance with the provisions of 28 U.S.C. §6 36© ), and Fed.R.Civ.P. 73, you are notified that a Un ited States magistrate judge of this
district co urt is available to conduct any or all proceedings in this case including a jury or nonjury trial, and to order the entry of a final
judgment. Exercise of this jurisdiction by a magistrate jud ge is, however, perm itted only if all parties vo luntarily co nsent.

You may, without adverse substantive consequences, withhold your consent, bu t this will prevent the court’s jurisdiction from being
exercised by a magistrate judge. If any party withholds consent, the identity of the parties consenting or withholding consent will not be
communicated to any magistrate judge or to the district judge to whom the case has been assigned.

An appeal from a judgment entered by a magistrate jud ge shall be take n direc tly to the U nited S tates court of ap peals for this jud icial circuit
in the sam e manner as an ap peal from any other judgment of this district court.

                                          CONSENT TO THE EXERCISE OF JURISDICTION
                                           BY A UNITED STATES MAGISTRATE JUDGE

In accordance with the provisions of 28 U.S.C.§636©) and Fed.R.Civ.P. 73, the parties in this case consent to have a United States
magistrate judge conduct any and all proceedings in this case, including the trial, o rder the entry o f a final judgment, and cond uct all post-
judgment proce edings.


                  Party Represented                                             Signatures                                        Date




                                                          ORDER OF REFERENCE

IT IS ORDERED that this case be referred to DAVID E. PEEBLES United States Magistrate Judge, to conduct all proceedings and order
the entry of judgment in accordance with 28 U.S.C. §636©) and Fed. R. Civ. P. 73.




                Date                                                          United States District Judge

NOTE: RETURN TH IS FOR TO THE CLERK OF THE COURT ON LY IF ALL PARTIES HAVE CONSENTED ON T HIS FORM
      TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
